  Case 3:17-cv-00198-LAB-WVG Document 89 Filed 11/16/18 PageID.2476 Page 1 of 1


                                  United States District Court
                                   SOUTHERN DISTRICT OF CALIFORNIA

                            NOTICE OF DOCUMENT DISCREPANCY

TO: ☒ U.S. DISTRICT JUDGE / ☐ U.S. MAGISTRATE JUDGE: The Hon. Larry Alan Burns
 FROM: L. Cervantes, Deputy Clerk                     RECEIVED DATE: November 16, 2018
 CASE NO. 17-cv-00198-LAB-WVG                         DOC FILED BY: Tiffany Dehen
 CASE TITLE: Dehen v. Doe et al
 DOCUMENT ENTITLED: Plaintiff's Notice of motion and Motion to Dismiss

        Upon the submission of the attached document(s), the following discrepancies are noted:


 Civ.L. Rule 5.1 - Missing time and date

 Civ.L. Rule 7.1 - Missing points of authorities;

 Civ.L. Rule 5.2 - Missing Proof of Service



                                                           Date Forwarded:      November 16, 2018

                   ORDER OF THE JUDGE / MAGISTRATE JUDGE

IT IS HEREBY ORDERED:
 ☒ The document is to be filed nunc pro tunc to date received.
      The document is NOT to be filed. But instead REJECTED, and it is ORDERED that the Clerk
 ☐
      serve a copy of this order on all parties.
Rejected documents to be returned to pro se or inmate? ☐ Yes.  Court copy retained by chambers ☐
          Any further failure to comply with the Local Rules may lead to penalties pursuant to
                           Civil Local Rule 83.1 or Criminal Local Rule 57.1.

Date: November 16, 2018                 CHAMBERS OF: The Honorable Larry Alan Burns

cc: All Parties                               By:   Law Clerk
